                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )      No. 13-03054-10-CR-S-BCW
                                                   )
BRANDON E. HINKLEY,                                )
                                                   )
                          Defendant.               )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One and

admitted to Forfeiture Allegation Three contained in the Superseding Indictment filed on August

28, 2013, is now Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing

will be set by subsequent Order of the Court.




                                                          /s/ Brian C. Wimes
                                                          BRIAN C. WIMES
                                                   UNITED STATES DISTRICT JUDGE




Date: February 24, 2014




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